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                                                          Revised: 9/3/2015
                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                                                        By Nakisha Love at 12:04 pm, Dec 12, 2023
                            __________DIVISION
                            Tyler
                   APPLICATION TO APPEAR PRO HAC VICE



1.This application is being made for the following: Case #__________________________________
                                                             6:23-cv-609
Style/Parties:________________________________________________________________________
               The Daily Wire, LLC, et al. v. U.S. Department of State, et al.
2. Applicant is representing the following party/ies: __________________________________________
                                                      Plaintiffs
3.Applicant was admitted to practice in __________
                                          New York (state) on _____________________
                                                                 05/18/2020                   (date).
4. Applicant is in good standing and is otherwise eligible to practice law before this court.
5. Applicant is not currently suspended or disbarred in any other court.
6. Applicant has has not had an application for admission to practice before another court denied (please
circle appropriate language). If so, give complete information on a separate page.
7. Applicant has has not ever had the privilege to practice before another court suspended (please circle).
If so, give complete information on a separate page.
8. Applicant has has not been disciplined by a court or Bar Association or committee thereof that would
reflect unfavorably upon applicant’s conduct, competency or fitness as a member of the Bar (please
circle). If so, give complete information on a separate page.
9. Describe in detail on a separate page any charges, arrests or convictions for criminal offense(s) filed
against you. Omit minor traffic offenses and misdemeanor offenses committed prior to age 18. (See Page 3)
10. There are no pending grievances or criminal matters pending against the applicant.
11. Applicant has been admitted to practice in the following courts:
______________________________________________________________________________
 S.D. Tex., E.D.N.Y., S.D.N.Y., N.D.N.Y., N.D. Tex. (pro hac vice)
12. Applicant has read and will comply with the Local Rules of the Eastern District of Texas, including
Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”
13. Applicant understands that he/she is being admitted for the limited purpose of appearing in the case
specified above only.
Application Oath:
         I, __________________________________________do
             Katherine (Casey) Brady Norman                          solemnly swear (or affirm) that the
above information is true; that I will discharge the duties of attorney and counselor of this court faithfully;
that I will demean myself uprightly under the law and the highest ethics of our profession; and that I will
support and defend the Constitution of the United States.

Date _______________
      12/12/2023                          Signature __________________________________ (/s/Signature)




                    Application Continued on Page 2
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                                UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                  APPLICATION TO APPEAR PRO HAC VICE (Continued)



                                                   Name (please print) _____________________________________
                                                                        Katherine (Casey) Norman
                                                   Bar Number /State______________________________________
                                                                       5772199, New York
                                                   Firm Name:       ________________________________________
                                                                     New Civil Liberties Alliance
                                                   Address/P.O. Box: ____________________________________
                                                                         1225 19th Street NW, Ste. 450
                                                   City/State/Zip: _________________________________________
                                                                   Washington D.C. 20036
                                                   Telephone #: _________________________________________
                                                                   202-908-6204
                                                   Fax #: ______________________________________________
                                                   E-mail Address: ________________________________________
                                                                     casey.norman@ncla.legal
                                                   Secondary E-Mail Address: _______________________________
                                                                                 katherinebnorman@gmail.com


                                                                      12/12/2023
         This application has been approved for the court on: _______________________________________




                                                                       David A. O'Toole, Clerk
                                                                       U.S. District Court, Eastern District of Texas



                                                                       By _______________________________________
                                                                       Deputy Clerk




Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and   Password so that you will be able to
electronically file your application and pay the $100 fee on   line. If you already have a login and
password, you will still need to wait for approval email   from the clerk before filing your                   Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
